Case 1:23-cv-05294-RPK-LB          Document 51        Filed 10/24/24      Page 1 of 1 PageID #: 804




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK



   JANE DOE 1, JANE DOE 2,
                                   Plaintiffs,

                             v.                                     Docket No. 23-CV-5294

   THE CONGREGATION OF THE SACRED
   HEARTS OF JESUS AND MARY, DIOCESE OF
   FALL RIVER, SISTERS OF CHARITY OF
   MONTREAL (“GREY NUNS”), SISTERS OF
   CHARITY OF QUEBEC (“GREY NUNS”),
   MISSIONARY OBLATES OF MARY
   IMMACULATE EASTERN PROVINCE (THE
   “OBLATES”), AND BLACK AND WHITE
   CORPORATIONS 1-10,

                                  Defendants.



          Notice is hereby given that the plaintiffs in the above-captioned action, Jane Doe 1 and
  Jane Doe 2 (“Plaintiffs”), by and through their attorneys, Law Office of Darren Wolf, P.C., 1701
  N. Market Street Suite 210, Dallas, Texas 75202, appeal to the United States Court of Appeals for
  the Second Circuit from each and every part of the judgment against them entered on September
  25, 2024, (ECF No. 50), following the Order dated September 24, 2024, and each and every part
  of that Order granting Defendants’ Motions to Dismiss pursuant to Federal Rule of Civil Procedure
  12, and every other Order on the docket in any way related to the dismissal.

  Dated: New York, New York
         October 24, 2024
                                                     By: /s/ Darren Wolf
                                                        Darren Wolf
                                                        Law Office of Darren Wolf, P.C.
                                                        darren@darrenwolf.com
                                                        1701 N. Market Street Suite 210
                                                        Dallas, Texas 75202
                                                        Phone: 214-346-5355
                                                        Fax: 214-346-5909

                                                        Attorney for Plaintiffs



                                                 1
